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                                                   United States District Court
                                                              Southern District of Florida
                                                                      MIAMI DIVISION

  UNITED STATES OF AMERICA                                                     JUDGMENT IN A CRIMINAL CASE

  v.                                                                           Case Number - 1:18-20092-CR-ALTONAGA-1

  DANILO ILDEFONSO LOPEZ–CASTILLO
                                                                               USM Number: 15299-104

                                                                               Counsel for Defendant: Todd Yoder
                                                                               Counsel for the United States: Walter M. Norkin
                                                                               Court Reporter: Stephanie McCarn
  ___________________________________



  The defendant pled guilty to Count 1 of the Information.
  The defendant is adjudicated guilty of the following offense:

           TITLE/SECTION                                        NATURE OF
              NUMBER                                             OFFENSE                          OFFENSE ENDED                  COUNT

             21 U.S.C. § 963                       Conspiracy to Distribute Five                      January 2017                 1
                                                   Kilograms or More of Cocaine

  The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
  Sentencing Reform Act of 1984.

  It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
  residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.
  If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material changes in
  economic circumstances.

                                                                                         Date of Imposition of Sentence:
                                                                                         June 6, 2018



                                                                                         ________________________________
                                                                                         CECILIA M. ALTONAGA
                                                                                         UNITED STATES DISTRICT JUDGE

                                                                                         June 6, 2018
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  DEFENDANT: DANILO ILDEFONSO LOPEZ–CASTILLO
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                                                              IMPRISONMENT
            The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
  term of 72 months.

  The Court makes the following recommendations to the Bureau of Prisons:

               The Court recommends that the defendant be designated to a facility located in or near South Florida.

  The defendant is remanded to the custody of the United States Marshal.




                                                                RETURN

  I have executed this judgment as follows:




  Defendant delivered on ____________________ to _________________________________________________

  at _________________________________________________________, with a certified copy of this judgment.


                                                                                     __________________________________
                                                                                              UNITED STATES MARSHAL


                                                                                 By:__________________________________
                                                                                                     Deputy U.S. Marshal
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  DEFENDANT: DANILO ILDEFONSO LOPEZ–CASTILLO
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                                                              SUPERVISED RELEASE

               Upon release from imprisonment, the defendant shall be on supervised release for a term of 2 years.

            The defendant must report to the probation office in the district to which the defendant is released within 72 hours of
  release from the custody of the Bureau of Prisons.

               The defendant shall not commit another federal, state or local crime.

            The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful
  use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and
  at least two periodic drug tests thereafter, as determined by the court.

               The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

               The defendant shall cooperate in the collection of DNA as directed by the probation officer.


          If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in
  accordance with the Schedule of Payments sheet of this judgment.

           The defendant must comply with the standard conditions that have been adopted by this court as well as any
  additional conditions on the attached page.

                                                 STANDARD CONDITIONS OF SUPERVISION

  1.           The defendant shall not leave the judicial district without the permission of the court or probation officer;
  2.           The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first fifteen days of
               each month;
  3.           The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4.           The defendant shall support his or her dependents and meet other family responsibilities;
  5.           The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
               acceptable reasons;
  6.           The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;
  7.           The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
               controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8.           The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9.           The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
               felony, unless granted permission to do so by the probation officer;
  10.          The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
               contraband observed in plain view by the probation officer;
  11.          The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
               officer;
  12.          The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
               permission of the court; and
  13.          As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
               record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
               defendant’s compliance with such notification requirement.
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                                                    SPECIAL CONDITIONS OF SUPERVISION

               The defendant shall also comply with the following additional conditions of supervised release:

  Surrendering to Immigration for Removal After Imprisonment - At the completion of the defendant’s term of
  imprisonment, the defendant shall be surrendered to the custody of the U.S. Immigration and Customs Enforcement for
  removal proceedings consistent with the Immigration and Nationality Act. If removed, the defendant shall not reenter the
  United States without the prior written permission of the Undersecretary for Border and Transportation Security. The term
  of supervised release shall be non-reporting while the defendant is residing outside the United States. If the defendant
  reenters the United States within the term of supervised release, the defendant is to report to the nearest U.S. Probation Office
  within 72 hours of the defendant’s arrival.
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                                                         CRIMINAL MONETARY PENALTIES


         The defendant must pay the total criminal monetary penalties under the schedule of payments on the Schedule of
  Payments sheet.

                   Total Assessment                                    Total Fine                                     Total Restitution

                           $100.00                                           0                                                  0



  *Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed on
  or after September 13, 1994, but before April 23, 1996.
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                                                              SCHEDULE OF PAYMENTS

  Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

                 A. Lump sum payment of $100.00 due immediately.


  Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
  penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
  Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

  The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

  The assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:

                              U.S. CLERK’S OFFICE
                              ATTN: FINANCIAL SECTION
                              400 NORTH MIAMI AVENUE, ROOM 8N09
                              MIAMI, FLORIDA 33128-7716

  The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and the
  U.S. Attorney’s Office are responsible for the enforcement of this order.



               The defendant shall forfeit the defendant’s interest in the following property to the United States:

                             Forfeiture of the defendant’s right, title and interest in certain property is hereby
                             ordered consistent with the plea agreement. If there is to be forfeiture, the United
                             States shall submit a proposed order of forfeiture within three days of this
                             proceeding.


  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine
  principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court
  costs.
